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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

In re:                                                      Case No. 15-20876-RBR

VICTOR PADILLA,                                             Chapter 11

       Debtor.
___________________________________/

                     NOTICE OF FILING VICTOR PADILLA’S
             POST-CONFIRMATION QUARTERLY OPERATING REPORT
         FOR THE PERIOD FROM JULY 1, 2018 THROUGH SEPTEMBER 30, 2018

          The Debtor, Victor Padilla (the “Debtor”) by and through undersigned counsel, files the

attached Debtor’s Post-Confirmation Quarterly Operating Report for the Period from July 1,

2018 through September 30, 2018.

          Dated this 26th day of October, 2018.

                                              Respectfully submitted,

                                              BAST AMRON LLP
                                              Attorneys for Debtor
                                              SunTrust International Center
                                              One Southeast Third Avenue, Suite 1400
                                              Miami, Florida 33131
                                              Telephone: 305.379.7904
                                              Facsimile: 305.379.7905
                                              Email: jbast@bastamron.com
                                              Email: zlaux@bastamron.com

                                              By: /s/ Jeffrey P. Bast, Esq.
                                                  Jeffrey P. Bast (FBN 996343)
                                                  Zakarij N. Laux (FBN 93784)




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                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 26th day of October, 2018, I electronically filed the
foregoing with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record identified on the below Service List via transmission of
Notice of Electronic Filing generated by CM/ECF.

                                           By: /s/ Jeffrey P. Bast
                                                   Jeffrey P. Bast
                                         SERVICE LIST
VIA CM/ECF

         Jeffrey P. Bast jbast@bastamron.com,
          jdepina@bastamron.com;kjones@bastamron.com;jmiranda@bastamron.com;dtimpone@basta
          mron.com;mdesvergunat@bastamron.com
         Ricardo Corona bk@coronapa.com
         Melbalynn Fisher bkyecf@rasflaw.com, FLBKECF@mccalla.com
         April Harriott aharriott@rasflaw.com, aharriott@rasflaw.com
         Gerard M Kouri Jr. gmkouripaecf@gmail.com, gmkouri@bellsouth.net
         Zakarij N Laux zlaux@bastamron.com,
          dtimpone@bastamron.com;jdepina@bastamron.com
         Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
         Damaris D Rosich-Schwartz Damaris.D.Rosich-Schwartz@usdoj.gov
         Christopher P Salamone csalamone@rasflaw.com, csalamone@rasflaw.com




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                                           UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                               FT. LAUDERDALE DIVISION

IN RE:                                                                             }            CASE NUMBER: 15-20876-RBR
                                                                                   }
                   VICTOR PADILLA,                                                 }
                                                                                   }            JUDGE RBR
                                                                                   }
                   DEBTOR.                                                         }            CHAPTER 11




                                                       DEBTOR'S POST-CONFIRMATION
                                                       QUARTERLY OPERATING REPORT
                                                                FOR THE PERIOD
                                   FROM                  7/1/2018         TO   9/30/2018



     Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



   Dated:           10/26/2018                                                                               Jeffrey P. Bast*
                                                                                                             Attorney for Debtor




                   Debtor's Address                                                                          Attorney's Address
                   and Phone Number:                                                                         and Phone Number:
                   1945 S OCEAN DR,                                                                          1 SE 3rd Ave., Suite 1400
                   APT 310, HALLANDALE BEACH, FL, 33009                                                      Miami, FL 33131
                   ___________________________                                                               ___________________________
                                                                                                             Bar No. 996343
                   Tel.: 954-529.8628                                                                        Tel. (305) 379-7904


Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http:// www.usdoj.gov/ust/r21/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)

                   *The attorney files this report on behalf of the Debtor, but makes no representations as to the accuracy
                   of the contents within.




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QUARTERLY OPERATING REPORT -                                                                                                                     ATTACHMENT NO. 1
POST CONFIRMATION




                                                                QUESTIONNAIRE
                                                                                                                                    YES*        NO
1.        Have any assets been sold or transferred outside the normal course of business, or outside
          the Plan of Reorganization during this reporting period?                                                                              X
2.        Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                                X
3.        Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                                X*
4.        Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                                X


                   *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                        INSURANCE INFORMATION
                                                                                                                                     YES       NO*
1.        Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
          compensation, and other necessary insurance coverages in effect?                                                            X
2.        Are all premium payments current?
                                                                                                                                 X
                   *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                           CONFIRMATION OF INSURANCE
                                                                                                                                     Payment Amount    Delinquency
                           TYPE of POLICY              and            CARRIER                            Period of Coverage           and Frequency     Amount




                              DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




          *Explanation: The Debtor cured all arrearages with the secured creditor during this period.
          The funds used to cure the arreage originated from and paid through an account controlled by Debtor's brother, Manuel Padilla.




     Estimated Date of Filing the Application for Final Decree: ____________________



               I declare under penalty of perjury that this statement and the accompanying
          documents and reports are true and correct to the best of my knowledge and
          belief.

             This ____23___ day of October, 2018                                                       _____________________________________
                                                                                                       Debtor's Signature




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QUARTERLY OPERATING REPORT -                                                                                               ATTACHMENT NO. 2
POST CONFIRMATION


                                        CHAPTER 11 POST-CONFIRMATION
                                    SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name: VICTOR PADILLA

Case Number: 15-20876-RBR

Date of Plan Confirmation: 07/06/2017

                        All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                               Quarterly        Post Confirmation Total
1.     CASH (Beginning of Period)                                   $                 $500.48 $             $21,916.57


2.     INCOME or RECEIPTS during the Period                         $               $16,424.55 $                 $158,682.80


3.     DISBURSEMENTS
       a.          Operating Expenses (Fees/Taxes):
                   (i)   U.S. Trustee Quarterly Fees                $                    $0.00 $                    $650.00
                   (ii)  Federal Taxes                                  None                       None
                   (iii) State Taxes                                    None                       None
                   (iv) Other Taxes                                     None                       None
                                                                        None                       None
       b.          All Other Operating Expenses:                    $               $16,130.20 $                 $130,892.58

       c.          Plan Payments:
                   (i)   Administrative Claims                      $ None                      $ None
                   (ii)  Class One                                    None                        None
                   (iii) Class Two                                    None                        None
                   (iv) Class Three                                   None                                       $167,902.02
                   (v)   Class Four                                   None                                        $11,600.00
                         (Attach additional pages as needed)

       Total Disbursements (Operating & Plan)                       $               $16,130.20 $

1.     CASH (End of Period)                                         $                  $794.83 $                 $384,623.33




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QUARTERLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
POST CONFIRMATION

                                   CHAPTER 11 POST-CONFIRMATION
                                   BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                      Account           Account          Account       Account
                                                        #1                #2               #3            #4
Name of Bank:                                          BOA

Account Number:                                   XXXX0747
Purpose of Account (Operating/Payroll/Tax)        PERSONAL

Type of Account (e.g. checking)                   CHECKING

1. Balance per Bank Statement                             $500.48
2. ADD: Deposits not credited                          $16,424.55
3. SUBTRACT: Outstanding Checks                        $16,130.20
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)              $794.83


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                      Date of           Type of          Purchase      Current
             Bank / Account Name / Number            Purchase          Instrument         Price         Value




Note: Attach copy of each investment account statement.




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QUARTERLY OPERATING REPORT -                                                                                     ATTACHMENT NO. 4
POST CONFIRMATION

                                             CHAPTER 11 POST-CONFIRMATION
                                        CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                              BOA
Account Number                                                            XXXX0747
Purpose of Account (Operating/Payroll/Personal)                           PERSONAL
Type of Account (e.g., Checking)                                          CHECKING

  Check              Date of
 Number            Transaction                 Payee                                     Purpose or Description                         Amount




                                                                                                                    TOTAL                  $0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.




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P.O. Box 15284
Wilmington, DE 19850
                                                                                             Customer service information


                                                                                             Customer service: 1.800.432.1000
                                                                                             TDD/TTY users only: 1.800.288.4408
  VICTOR H PADILLA                                                                           En Español: 1.800.688.6086
  1945 S OCEAN DR APT 310
  HALLANDALE BEACH, FL 33009-6077                                                            bankofamerica.com
                                                                                             Bank of America, N.A.
                                                                                             P.O. Box 25118
                                                                                             Tampa, FL 33622-5118




Your BofA Core Checking
for July 17, 2018 to August 16, 2018                                                  Account number:                     0747
VICTOR H PADILLA

Account summary
Beginning balance on July 17, 2018                                         $145.57
Deposits and other additions                                              4,611.06
ATM and debit card subtractions                                           -2,089.65
Other subtractions                                                        -2,325.78
Checks                                                                        -0.00
Service fees                                                                  -0.00

Ending balance on August 16, 2018                                         $341.20




PULL: B CYCLE: 9 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: JAX                                                        Page 1 of 8
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VICTOR H PADILLA ! Account #           0747 ! July 17, 2018 to August 16, 2018


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                         Your checking account
VICTOR H PADILLA ! Account #         0747 ! July 17, 2018 to August 16, 2018




Deposits and other additions
Date        Description                                                                                                   Amount

07/18/18    RAISER,LLC    DES:EDI PAYMNT ID:SCGH7OCL2H2RM8Y INDN:Victor Padilla               CO                          238.09
            ID:1800896455 CCD PMT INFO:REF*TN*SCGH7OCL2H\

07/19/18    bKGSjTDz3SL6xa 07/19 #000514204 PMNT RCVD Lyft 07-19 Exp           San Francisco CA                           140.08

07/20/18    bKGSjTDz3SL6xa 07/20 #000667417 PMNT RCVD Lyft 07-20 Exp           San Francisco CA                           105.37

07/23/18    bKGSjTDz3SL6xa 07/22 #000071513 PMNT RCVD Lyft 07-22 Exp           San Francisco CA                           102.63

07/23/18    bKGSjTDz3SL6xa 07/21 #000453155 PMNT RCVD Lyft 07-21 Exp           San Francisco CA                            81.34

07/24/18    bKGSjTDz3SL6xa 07/24 #000293874 PMNT RCVD Lyft 07-24 Exp           San Francisco CA                            36.00

07/25/18    RAISER,LLC    DES:EDI PAYMNT ID:ZNKK710E26BP26F INDN:Victor Padilla            CO                             363.49
            ID:1800896455 CCD PMT INFO:REF*TN*ZNKK710E26\

07/25/18    bKGSjTDz3SL6xa 07/24 #000498888 PMNT RCVD Lyft 07-25 Exp           San Francisco CA                            63.68

07/25/18    Lyft.com    DES:TRANSFER ID:Lyft 07-24 Wkly INDN:VICTOR PADILLA              CO                                  2.00
            ID:1800948598 CCD

07/26/18    DRIVER LOAN LLC DES:ADVANCE      ID: INDN:VICTOR PADILLA           CO ID:1821619848 CCD                       341.40

07/26/18    bKGSjTDz3SL6xa 07/25 #000836482 PMNT RCVD Lyft 07-26 Exp           San Francisco CA                            79.69

07/27/18    bKGSjTDz3SL6xa 07/26 #000193162 PMNT RCVD Lyft 07-27 Exp           San Francisco CA                            75.81

07/30/18    bKGSjTDz3SL6xa 07/28 #000856288 PMNT RCVD Lyft 07-28 Exp           San Francisco CA                            55.51

07/31/18    bKGSjTDz3SL6xa 07/30 #000845450 PMNT RCVD Lyft 07-31 Exp           San Francisco CA                            96.27

08/01/18    RAISER,LLC    DES:EDI PAYMNT ID:V6QHAPZS2WC8NH7 INDN:Victor Padilla               CO                          461.31
            ID:1800896455 CCD PMT INFO:REF*TN*V6QHAPZS2W\

08/01/18    bKGSjTDz3SL6xa 07/31 #000226018 PMNT RCVD Lyft 08-01 Exp           San Francisco CA                            14.81

08/03/18    bKGSjTDz3SL6xa 08/02 #000960602 PMNT RCVD Lyft 08-03 Exp           San Francisco CA                           112.25

08/03/18    bKGSjTDz3SL6xa 08/03 #000130628 PMNT RCVD Lyft 08-03 Exp           San Francisco CA                            29.50

08/06/18    bKGSjTDz3SL6xa 08/04 #000427708 PMNT RCVD Lyft 08-04 Exp           San Francisco CA                            66.16

08/06/18    Online Banking transfer from CHK 0384 Confirmation# 2557790133                                                 40.00

08/06/18    bKGSjTDz3SL6xa 08/06 #000326496 PMNT RCVD Lyft 08-06 Exp           San Francisco CA                            39.82

08/06/18    bKGSjTDz3SL6xa 08/05 #000139488 PMNT RCVD Lyft 08-06 Exp           San Francisco CA                            35.92
                                                                                                          continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! July 17, 2018 to August 16, 2018




Deposits and other additions - continued
Date        Description                                                                                                    Amount

08/07/18    bKGSjTDz3SL6xa 08/06 #000612166 PMNT RCVD Lyft 08-07 Exp            San Francisco CA                            83.61

08/08/18    RAISER,LLC    DES:EDI PAYMNT ID:K6E4B3BH8RXLLOK INDN:Victor Padilla              CO                            298.13
            ID:1800896455 CCD PMT INFO:REF*TN*K6E4B3BH8R\

08/09/18    bKGSjTDz3SL6xa 08/08 #000272560 PMNT RCVD Lyft 08-09 Exp            San Francisco CA                           117.32

08/09/18    Zelle Transfer Conf# T04Y88ZJR; NICK SANTANA                                                                    20.00

08/10/18    bKGSjTDz3SL6xa 08/09 #000540424 PMNT RCVD Lyft 08-10 Exp            San Francisco CA                           111.26

08/13/18    bKGSjTDz3SL6xa 08/12 #000045745 PMNT RCVD Lyft 08-12 Exp            San Francisco CA                           255.40

08/13/18    BKOFAMERICA ATM 08/13 #000004310 DEPOSIT OCEAN DRIVE                HOLLYWOOD          FL                      243.27

08/13/18    bKGSjTDz3SL6xa 08/11 #000294815 PMNT RCVD Lyft 08-11 Exp            San Francisco CA                           114.83

08/13/18    bKGSjTDz3SL6xa 08/13 #000088436 PMNT RCVD Lyft 08-13 Exp            San Francisco CA                           106.54

08/13/18    BKOFAMERICA ATM 08/13 #000004313 DEPOSIT OCEAN DRIVE                HOLLYWOOD          FL                       60.00
08/13/18    bKGSjTDz3SL6xa 08/13 #000336858 PMNT RCVD Lyft 08-13 Exp            San Francisco CA                            37.02

08/14/18    bKGSjTDz3SL6xa 08/14 #000537180 PMNT RCVD Lyft 08-14 Exp            San Francisco CA                            98.67

08/14/18    bKGSjTDz3SL6xa 08/14 #000678978 PMNT RCVD Lyft 08-14 Exp            San Francisco CA                            18.50

08/15/18    RAISER,LLC    DES:EDI PAYMNT ID:U6NUZJSH7BDFM11 INDN:Victor Padilla              CO                            358.64
            ID:1800896455 CCD PMT INFO:REF*TN*U6NUZJSH7B\

08/15/18    bKGSjTDz3SL6xa 08/14 #000868012 PMNT RCVD Lyft 08-15 Exp            San Francisco CA                            50.32

08/16/18    bKGSjTDz3SL6xa 08/15 #000248888 PMNT RCVD Lyft 08-16 Exp            San Francisco CA                            56.42

Total deposits and other additions                                                                                 $4,611.06



Withdrawals and other subtractions

ATM and debit card subtractions
Date        Description                                                                                                    Amount

07/17/18    CHECKCARD 0716 SUNPASS*ACC694468 888-865-5352 FL 55310208197083036901640                                       -10.00
            RECURRING

07/18/18    CHECKCARD 0717 SUNPASS*ACC694468 888-865-5352 FL 55310208198083039111022                                       -10.00
            RECURRING

07/18/18    CHECKCARD 0717 STARBUCKS STORE 2 HOLLYWOOD              FL 55432868199200936307312                               -5.57

07/19/18    CHECKCARD 0718 ULTIMATE CAR WASH DANIA BEACH FL 85500598199013312380440                                        -29.99

07/19/18    CHECKCARD 0718 SUNPASS*ACC694468 888-865-5352 FL 55310208199083040849650                                       -10.00
            RECURRING

07/19/18    7-ELEVEN        07/18 #000971288 PURCHASE 4112 S OCEAN DR           HOLLYWOOD     FL                           -20.13

07/19/18    CHECKCARD 0719 Spotify USA New York       NY 15270218200000532490122                                             -9.99

07/20/18    CHECKCARD 0719 CAPITAL ONE BNK D 800-955-7070 VA 05123488200300237292511                                       -25.00

07/20/18    CHECKCARD 0719 SUNPASS*ACC694468 888-865-5352 FL 55310208200083042314783                                       -10.00
            RECURRING

07/20/18    HALLANDALE U-G 07/20 #000796831 PURCHASE 990 W HALLANDALE HALLANDALE BE FL                                     -27.53
                                                                                                           continued on the next page




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                                                                                             Your checking account
VICTOR H PADILLA ! Account #           0747 ! July 17, 2018 to August 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                          Amount

07/20/18    7-ELEVEN        07/20 #000239615 PURCHASE 7-ELEVEN             HOLLYWOOD             FL                              -17.44

07/23/18    CHECKCARD 0720 CAPITAL ONE BNK D 800-955-7070 VA 05123488201300252616593                                             -20.00

07/23/18    CHECKCARD 0720 SUNPASS*ACC694468 888-865-5352 FL 55310208201083042836248                                             -10.00
            RECURRING

07/23/18    SHELL Service 07/21 #000754719 PURCHASE SHELL Service S              MIAMI GARDENS FL                                -30.00

07/23/18    CHECKCARD 0721 SUNPASS*ACC694468 888-865-5352 FL 55310208202083050605328                                             -10.00
            RECURRING

07/23/18    CHECKCARD 0721 BURGER KING #89 BOCA RATON FL 55431808203091421000418                                                   -9.62

07/23/18    7-ELEVEN        07/21 #000101180 PURCHASE 7-ELEVEN             DEERFIELD BEA FL                                        -7.72

07/23/18    CHECKCARD 0722 CAPITAL ONE BNK D 800-955-7070 VA 05123488203300232024247                                           -185.00

07/23/18    PUBLIX SUPER M 07/22 #000040981 PURCHASE 1170 WESTON ROAD WESTON                               FL                    -27.66

07/23/18    7-ELEVEN        07/23 #000999991 PURCHASE 1406 S. FEDERAL H DANIA                FL                                  -15.08

07/24/18    SHELL Service 07/24 #000091306 PURCHASE SHELL Service S              MIAMI       FL                                  -16.35

07/25/18    CHECKCARD 0717 SUNPASS*ACC694468 888-865-5352 FL 55310208198083039058959                                             -10.00
            RECURRING

07/25/18    CHECKCARD 0724 SUNPASS*ACC694468 888-865-5352 FL 55310208205083060075147                                             -10.00
            RECURRING

07/25/18    CHEVRON/DELFIN 07/25 #000361487 PURCHASE CHEVRON/DELFINO                     MIAMI        FL                         -16.86

07/26/18    CHECKCARD 0725 MASSAGE LUXE 3058147996 FL 55500808206083073442975 RECURRING                                            -5.00

07/26/18    CHECKCARD 0725 PINES U GAS HOLLYWOOD            FL 55506298207006003443026                                           -16.54
07/26/18    SHELL Service 07/26 #000268461 PURCHASE SHELL Service S              MIAMI GARDENS FL                                -25.00

07/27/18    CHECKCARD 0725 DRIVER LOAN DORAL             FL 85345108207980000249185                                                -1.00

07/27/18    CHECKCARD 0725 CHOW TIME GRILL & PEMBROKE PINEFL 55500808207010000526066                                             -61.00

07/27/18    CHECKCARD 0726 SUNPASS*ACC694468 888-865-5352 FL 55310208207083066904033                                             -10.00
            RECURRING

07/27/18    7-ELEVEN        07/27 #000928022 PURCHASE 4112 S OCEAN DR            HOLLYWOOD            FL                         -18.77

07/27/18    BKOFAMERICA ATM 07/27 #000006716 WITHDRWL OCEAN DRIVE                   HOLLYWOOD              FL                  -120.00

07/30/18    CHECKCARD 0727 DRIVER LOAN DORAL             FL 85345108210980000249198                                              -20.12

07/30/18    PMNT SENT 0727 SQC*MARIA GONZALE 4153753176 CA 55429508208740295796908                                             -100.00

07/30/18    WAWA 5211          07/27 #000723799 PURCHASE 1520 BELVEDERE RD WEST PALM BEA FL                                      -26.79

07/30/18    CHECKCARD 0728 SUNPASS*ACC694468 888-865-5352 FL 55310208209083070497576                                             -10.00
            RECURRING

07/30/18    SHELL Service 07/28 #000691385 PURCHASE SHELL Service S              WESTIN          FL                              -15.11
                                                                                                                 continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! July 17, 2018 to August 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                 Amount

07/30/18    CHECKCARD 0728 FLYPAY LYCA MOBIL 561-674-0028 FL 55480778209083203460471                                    -33.00

07/30/18    MCDONALD'S F30 07/28 #000180200 PURCHASE 835 W. HALLANDALE HALLANDALE                  FL                   -17.79

07/30/18    7-ELEVEN        07/30 #000929397 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -15.10

07/31/18    CHECKCARD 0730 SUNPASS*ACC694468 888-865-5352 FL 55310208211083076542272                                    -10.00
            RECURRING

08/01/18    CHECKCARD 0730 DRIVER LOAN DORAL            FL 85345108212980000249170                                      -20.12

08/01/18    CHECKCARD 0731 K EXPORT LLC 305-5142500 FL 55436878213132133330515                                          -10.00

08/01/18    CHECKCARD 0731 SUNPASS*ACC694468 888-865-5352 FL 55310208212083081445569                                    -10.00
            RECURRING

08/01/18    WM SUPERCENTER 08/01 #000479403 PURCHASE Wal-Mart Super Ce HALLANDALE                 FL                    -86.35

08/01/18    7-ELEVEN        08/01 #000990523 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -20.83

08/02/18    CHECKCARD 0731 DRIVER LOAN DORAL            FL 85345108213980000249195                                      -20.12

08/02/18    CHECKCARD 0801 CHIPOTLE 1912 FORT LAUDERDAFL 55310208214207088703229                                        -10.34

08/02/18    7-ELEVEN        08/02 #000839214 PURCHASE 7-ELEVEN            SUNNY ISLES B FL                                -9.40

08/02/18    7-ELEVEN        08/02 #000955945 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -20.09

08/03/18    CHECKCARD 0801 DRIVER LOAN DORAL            FL 85345108214980000249194                                      -20.12

08/03/18    CHECKCARD 0801 MCDONALD'S F30142 HALLANDALE FL 05140488214710036882069                                        -5.30

08/03/18    CHECKCARD 0802 SUNPASS*ACC694468 888-865-5352 FL 55310208214083085330260                                    -10.00
            RECURRING

08/03/18    GAS N GO        08/03 #000629791 PURCHASE GAS N GO           DANIA BEACH FL                                 -11.20

08/06/18    CHECKCARD 0802 DRIVER LOAN DORAL            FL 85345108215980000249151                                      -20.12

08/06/18    CHECKCARD 0803 DRIVER LOAN DORAL            FL 85345108217980000249167                                      -20.12

08/06/18    CHECKCARD 0803 CHEVRON 0047247 HALLANDALE FL 55432868215200140423905                                          -6.85

08/06/18    CHECKCARD 0803 ULTIMATE CAR WASH DANIA BEACH FL 85500598215013415597171                                       -7.00

08/06/18    7-ELEVEN        08/03 #000930481 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -15.16

08/06/18    7-ELEVEN        08/03 #000464693 PURCHASE 7-ELEVEN            HOLLYWOOD     FL                                -9.56

08/06/18    CHECKCARD 0805 SUNPASS*ACC694468 888-865-5352 FL 55310208217083097174000                                    -10.00
            RECURRING

08/06/18    CK 2708717       08/05 #000946156 PURCHASE CK 2708717          HOLLYWOOD        FL                          -19.60

08/06/18    CHECKCARD 0805 ASTA PARKING HOLLYWOOD            FL 55310208218400067001188                                 -10.00

08/06/18    7-ELEVEN        08/06 #000995796 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -14.16

08/06/18    7-ELEVEN        08/06 #000939847 PURCHASE 4112 S OCEAN DR           HOLLYWOOD    FL                         -14.00

08/07/18    CHECKCARD 0806 SUNPASS*ACC694468 888-865-5352 FL 55310208218083101370866                                    -10.00
            RECURRING

08/07/18    CHECKCARD 0806 MARATHON PETRO190 MIAMI               FL 25415758219001092201908                             -15.00
                                                                                                        continued on the next page




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                                                                                           Your checking account
VICTOR H PADILLA ! Account #           0747 ! July 17, 2018 to August 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                     Amount

08/07/18    CHEVRON/SUNSHI 08/07 #000747987 PURCHASE CHEVRON/SUNSHINE WESTON                          FL                    -14.01

08/08/18    CHECKCARD 0806 DRIVER LOAN DORAL             FL 85345108219980000249132                                         -20.12

08/08/18    7-ELEVEN        08/08 #000930687 PURCHASE 1500 W STATE ROAD FORT LAUDERDA FL                                    -16.80

08/09/18    CHECKCARD 0807 DRIVER LOAN DORAL             FL 85345108220980000249113                                         -20.12

08/09/18    CHECKCARD 0808 PARKING (VERRUS) 9548285150 FL 55480778221207777108083                                             -0.93

08/09/18    CHECKCARD 0808 SUNPASS*ACC694468 888-865-5352 FL 55310208220083107941088                                        -10.00
            RECURRING

08/09/18    CHECKCARD 0808 TMOBILE*POSTPAID 800-937-8997 WA 55432868220200077954180                                         -51.30

08/09/18    CHECKCARD 0808 PARKING (VERRUS) 9548285150 FL 55480778221207777110758                                             -1.02

08/09/18    PMNT SENT 0808 SQC*MARIA GONZALE 4153753176 CA 55429508221740280149561                                          -50.00

08/09/18    7-ELEVEN        08/09 #000993814 PURCHASE 4112 S OCEAN DR            HOLLYWOOD      FL                          -20.14

08/10/18    CHECKCARD 0808 DRIVER LOAN DORAL             FL 85345108221980000249153                                         -20.12

08/10/18    CHECKCARD 0809 SUNPASS*ACC694468 888-865-5352 FL 55310208221083118231197                                        -10.00
            RECURRING

08/10/18    SPEEDWAY 06893 08/09 #000521341 PURCHASE SPEEDWAY 06893                  NORTH BAY VIL FL                       -16.80

08/13/18    CHECKCARD 0809 DRIVER LOAN DORAL             FL 85345108222980000249145                                         -20.12

08/13/18    CHECKCARD 0810 PARKING (VERRUS) 9548285150 FL 55480778223207777909496                                             -0.93

08/13/18    CHECKCARD 0810 DRIVER LOAN DORAL             FL 85345108224980000249176                                         -20.12

08/13/18    CHECKCARD 0810 WILTON MANORS VA WILTON MANORSFL 05140488223120004172395                                         -26.71

08/13/18    CHECKCARD 0810 JAXSONS ICE CREAM DANIA BEACH FL 05314618223500225347342                                         -48.00

08/13/18    SIERRA AUTO CE 08/12 #000343872 PURCHASE 331 23RD ST                 MIAMI BEACH FL                             -10.68

08/13/18    7-ELEVEN        08/12 #000980785 PURCHASE 747 HALLANDALE BE HALLANDALE               FL                         -20.37

08/13/18    CHEVRON/SUNSHI 08/13 #000329283 PURCHASE CHEVRON/SUNSHINE WESTON                          FL                    -11.24

08/13/18    RACETRAC553        08/13 #000097700 PURCHASE 1410 W STATE ROAD FT LAUDERDAL FL                                  -11.00

08/14/18    CHECKCARD 0813 CAPITAL ONE BNK D 800-955-7070 VA 05123488225300229895595                                        -10.00

08/14/18    CHECKCARD 0813 PHO 79 V - PINECR PINECREST          FL 05314618226000409940639                                  -12.00

08/14/18    MOISES BAKERY 08/14 #000617541 PURCHASE 115 E HALLANDALE HALLANDALE BE FL                                         -4.08

08/14/18    SHELL Service 08/14 #000356923 PURCHASE SHELL Service S              SUNRISE   FL                               -28.03

08/15/18    CHECKCARD 0813 DRIVER LOAN DORAL             FL 85345108226980000249174                                         -20.12

08/15/18    CHECKCARD 0814 SUNPASS*ACC694468 888-865-5352 FL 55310208226083134565185                                        -10.00
            RECURRING

08/15/18    7-ELEVEN        08/15 #000985382 PURCHASE 7-ELEVEN             HOLLYWOOD       FL                                 -9.56
                                                                                                            continued on the next page




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VICTOR H PADILLA ! Account #            0747 ! July 17, 2018 to August 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                              Amount

08/15/18    CHEVRON/SUNSHI 08/15 #000577270 PURCHASE CHEVRON/SUNSHINE MIAMI                         FL               -16.29

08/16/18    CHECKCARD 0814 DRIVER LOAN DORAL                FL 85345108227980000249132                               -20.12

08/16/18    CHECKCARD 0814 RUBY CHEN`S RESTA FORT LAUDERDAFL 85353548227980001642885                                     -7.69

08/16/18    CHECKCARD 0815 SUPERCUTS NORTH MIAMI BFL 55417348228732285086821                                         -22.50

08/16/18    7-ELEVEN        08/16 #000982269 PURCHASE 4112 S OCEAN DR             HOLLYWOOD    FL                    -25.01

08/16/18    7-ELEVEN        08/16 #000003880 PURCHASE 7-ELEVEN               HOLLYWOOD    FL                             -9.12

Total ATM and debit card subtractions                                                                          -$2,089.65


Other subtractions
Date        Description                                                                                              Amount

07/17/18    Zelle Transfer Conf# b1bc71eeb; Portales, Lilysabel                                                      -80.00

07/18/18    Zelle Transfer Conf# 4da68433e; Garcis, Herzori Jacqueline                                               -50.00

07/20/18    Zelle Transfer Conf# 6f82b8a79; Padilla Asociados                                                       -132.00

07/23/18    Zelle Transfer Conf# 8dc3f5a27; Padilla Asociados                                                        -50.00

07/25/18    Zelle Transfer Conf# 22dfb1ba1; Padilla Asociados                                                        -50.00

07/25/18    Zelle Transfer Conf# 55cc00dd8; Portales, Lilysabel                                                     -100.00

07/25/18    Zelle Transfer Conf# 2d9c36ca5; Garcis, Herzori Jacqueline                                              -115.00

07/30/18    Zelle Transfer Conf# 52164c4c1; Portales, Lilysabel                                                     -100.00

07/30/18    Zelle Transfer Conf# bce7e1ba4; sanoja, karen                                                            -65.00

07/31/18    Zelle Transfer Conf# 8dfaa4443; sanoja, karen                                                            -40.00

08/01/18    Zelle Transfer Conf# 15e0359d3; Padilla Asociados                                                       -240.00

08/06/18    Zelle Transfer Conf# 35bb36a82; Padilla Asociados                                                       -100.00

08/09/18    Zelle Transfer Conf# e8cfdbfac; Padilla Asociados                                                       -100.00

08/10/18    Online Banking transfer to CHK 0384 Confirmation# 2187046980                                             -40.00

08/10/18    Zelle Transfer Conf# a683d2feb; Padilla Asociados                                                       -100.00

08/10/18    Zelle Transfer Conf# 155d949bd; Mottola, Valeria                                                         -60.00

08/14/18    Zelle Transfer Conf# bdcaf0e0a; Garcis, Herzori Jacqueline                                               -50.00

08/14/18    Infiniti      DES:Auto Loan ID:0088006773877 INDN:PADILLA VICTOR            CO ID:9782464004            -733.78
            WEB

08/15/18    Zelle Transfer Conf# 225c8e02e; Garcis, Herzori Jacqueline                                              -120.00

Total other subtractions                                                                                       -$2,325.78




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P.O. Box 15284
Wilmington, DE 19850
                                                                                             Customer service information


                                                                                             Customer service: 1.800.432.1000
                                                                                             TDD/TTY users only: 1.800.288.4408
  VICTOR H PADILLA                                                                           En Español: 1.800.688.6086
  1945 S OCEAN DR APT 310
  HALLANDALE BEACH, FL 33009-6077                                                            bankofamerica.com
                                                                                             Bank of America, N.A.
                                                                                             P.O. Box 25118
                                                                                             Tampa, FL 33622-5118




Your BofA Core Checking
for August 17, 2018 to September 13, 2018                                              Account number:                    0747
VICTOR H PADILLA

Account summary
Beginning balance on August 17, 2018                                       $341.20
Deposits and other additions                                              5,020.47
ATM and debit card subtractions                                           -2,943.55
Other subtractions                                                        -2,107.65
Checks                                                                        -0.00
Service fees                                                                  -0.00

Ending balance on September 13, 2018                                      $310.47




PULL: B CYCLE: 9 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: JAX                                                        Page 1 of 8
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VICTOR H PADILLA ! Account #           0747 ! August 17, 2018 to September 13, 2018


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                       Your checking account
VICTOR H PADILLA ! Account #          0747 ! August 17, 2018 to September 13, 2018




Deposits and other additions
Date        Description                                                                                                 Amount

08/17/18    bKGSjTDz3SL6xa 08/17 #000650242 PMNT RCVD Lyft 08-17 Exp         San Francisco CA                            82.23

08/20/18    Zelle Transfer Conf# 1Dds8moGp; HERZORI GARCIA                                                              200.00

08/20/18    bKGSjTDz3SL6xa 08/18 #000089538 PMNT RCVD Lyft 08-18 Exp         San Francisco CA                           158.45

08/20/18    bKGSjTDz3SL6xa 08/20 #000940052 PMNT RCVD Lyft 08-20 Exp         San Francisco CA                            74.22

08/20/18    bKGSjTDz3SL6xa 08/19 #000849844 PMNT RCVD Lyft 08-20 Exp         San Francisco CA                            56.57

08/21/18    bKGSjTDz3SL6xa 08/21 #000401076 PMNT RCVD Lyft 08-21 Exp         San Francisco CA                           235.77

08/22/18    RAISER,LLC    DES:EDI PAYMNT ID:QIEPSQY2HBX22IC INDN:Victor Padilla          CO                             611.69
            ID:1800896455 CCD PMT INFO:REF*TN*QIEPSQY2HB\
08/22/18    bKGSjTDz3SL6xa 08/21 #000741140 PMNT RCVD Lyft 08-22 Exp         San Francisco CA                            19.78

08/24/18    bKGSjTDz3SL6xa 08/24 #000595068 PMNT RCVD Lyft 08-24 Exp         San Francisco CA                           181.42

08/24/18    bKGSjTDz3SL6xa 08/23 #000425410 PMNT RCVD Lyft 08-24 Exp         San Francisco CA                            41.32

08/27/18    BKOFAMERICA ATM 08/27 #000007164 DEPOSIT TYLER STREET             HOLLYWOOD         FL                   1,194.00

08/27/18    Zelle Transfer Conf# e5TgpiFzi; HERZORI GARCIA                                                              140.00

08/27/18    bKGSjTDz3SL6xa 08/27 #000032054 PMNT RCVD Lyft 08-28 Exp         San Francisco CA                            68.70

08/27/18    bKGSjTDz3SL6xa 08/26 #000540764 PMNT RCVD Lyft 08-27 Exp         San Francisco CA                            54.86

08/27/18    bKGSjTDz3SL6xa 08/25 #000105164 PMNT RCVD Lyft 08-25 Exp         San Francisco CA                            54.60

08/27/18    bKGSjTDz3SL6xa 08/25 #000633220 PMNT RCVD Lyft 08-26 Exp         San Francisco CA                            26.98

08/29/18    RAISER,LLC    DES:EDI PAYMNT ID:Y35HM07JFXYHF3W INDN:Victor Padilla           CO                            579.47
            ID:1800896455 CCD PMT INFO:REF*TN*Y35HM07JFX\

08/30/18    bKGSjTDz3SL6xa 08/30 #000962358 PMNT RCVD Lyft 08-30 Exp         San Francisco CA                            78.78

08/31/18    bKGSjTDz3SL6xa 08/31 #000246008 PMNT RCVD Lyft 08-31 Exp         San Francisco CA                            38.95

09/04/18    bKGSjTDz3SL6xa 09/04 #000926018 PMNT RCVD Lyft 09-04 Exp         San Francisco CA                            66.53

09/04/18    bKGSjTDz3SL6xa 09/04 #000180004 PMNT RCVD Lyft 09-04 Exp         San Francisco CA                            20.71

09/04/18    bKGSjTDz3SL6xa 09/04 #000925990 PMNT RCVD Lyft 09-04 Exp         San Francisco CA                            14.21
                                                                                                        continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! August 17, 2018 to September 13, 2018




Deposits and other additions - continued
Date        Description                                                                                                 Amount

09/05/18    RAISER,LLC    DES:EDI PAYMNT ID:H8DU89EN31X4NC2 INDN:Victor Padilla              CO                         225.05
            ID:1800896455 CCD PMT INFO:REF*TN*H8DU89EN31\

09/06/18    bKGSjTDz3SL6xa 09/05 #000629118 PMNT RCVD Lyft 09-06 Exp         San Francisco CA                            34.73

09/07/18    bKGSjTDz3SL6xa 09/07 #000820227 PMNT RCVD Lyft 09-07 Exp         San Francisco CA                            97.99

09/07/18    bKGSjTDz3SL6xa 09/07 #000067142 PMNT RCVD Lyft 09-07 Exp         San Francisco CA                            46.62

09/10/18    bKGSjTDz3SL6xa 09/09 #000545033 PMNT RCVD Lyft 09-10 Exp         San Francisco CA                            40.32

09/12/18    RAISER,LLC    DES:EDI PAYMNT ID:6111XTP8D0Y3QVS INDN:Victor Padilla          CO                             418.93
            ID:1800896455 CCD PMT INFO:REF*TN*6111XTP8D0\

09/12/18    bKGSjTDz3SL6xa 09/11 #000478416 PMNT RCVD Lyft 09-12 Exp         San Francisco CA                           157.59

Total deposits and other additions                                                                              $5,020.47



Withdrawals and other subtractions

ATM and debit card subtractions
Date        Description                                                                                                 Amount

08/17/18    CHECKCARD 0815 DRIVER LOAN DORAL           FL 85345108228980000249123                                       -20.12

08/17/18    7-ELEVEN        08/17 #000982146 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                         -11.04

08/17/18    7-ELEVEN        08/17 #000382424 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                                -9.56

08/17/18    7-ELEVEN        08/17 #000821913 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                                -9.23

08/17/18    7-ELEVEN        08/17 #000841033 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                              -12.22

08/20/18    CHECKCARD 0816 DRIVER LOAN DORAL           FL 85345108229980000249148                                       -20.12

08/20/18    CHECKCARD 0816 CHICK-FIL-A #0262 DAVIE         FL 05140488229710019309240                                   -18.97

08/20/18    CHECKCARD 0817 DRIVER LOAN DORAL           FL 85345108231980000249193                                       -20.12

08/20/18    CHECKCARD 0818 MCDONALD'S F26690 FT LAUDERDALEFL 05140488230710061262989                                      -7.10

08/20/18    CHECKCARD 0818 GEICO *AUTO 800-841-3000 DC 55432868230200970270195 RECURRING                              -201.48

08/20/18    PMNT SENT 0818 SQC*MARIA GONZALE 4153753176 CA 55429508230740193813286                                      -50.00

08/20/18    GAS N GO        08/18 #000789490 PURCHASE GAS N GO          DANIA BEACH FL                                  -20.02

08/20/18    7-ELEVEN        08/18 #000524877 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                                -9.56

08/20/18    CHECKCARD 0818 ULTIMATE CAR WASH DANIA BEACH FL 85500598231013501677663                                     -29.99

08/20/18    CHECKCARD 0819 Spotify USA New York       NY 15270218231000541993937                                          -9.99

08/20/18    DOLLAR GENERAL 08/19 #000011174 PURCHASE 120 S FEDERAL HWY DANIA                  FL                          -7.42

08/20/18    CHECKCARD 0819 MCDONALD'S F34959 DAVIE            FL 05140488231720053020583                                  -8.26

08/20/18    CHECKCARD 0820 9640 AMC ONLINE 8884404262 KS 55310208232602480201129                                        -27.23

08/20/18    7-ELEVEN        08/19 #000985868 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                         -22.06

08/20/18    ORION FUELS- P 08/20 #000059247 PURCHASE ORION FUELS- PE           HALLANDALE         FL                    -26.99

08/21/18    CHECKCARD 0820 WEBPAY-COURTORTIC 305-3751987 FL 55436878232262325897612                                     -42.00
                                                                                                        continued on the next page




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VICTOR H PADILLA ! Account #           0747 ! August 17, 2018 to September 13, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                 Amount

08/21/18    DION C STORE L 08/21 #000122429 PURCHASE DION C STORE LL           FLORIDA CITY FL                          -10.01

08/22/18    CHECKCARD 0820 DRIVER LOAN DORAL            FL 85345108233980000249100                                      -20.12

08/22/18    CHECKCARD 0821 SUNPASS*ACC694468 888-865-5352 FL 55310208233083150919986                                    -10.00
            RECURRING

08/22/18    CHECKCARD 0821 SUNSHINE 180 CITG HOMESTEAD            FL 25415758234003920530954                            -15.06

08/22/18    7-ELEVEN        08/22 #000967138 PURCHASE 1406 S. FEDERAL H DANIA          FL                               -27.60

08/22/18    7-ELEVEN        08/22 #000993258 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -20.11

08/23/18    CHECKCARD 0821 DRIVER LOAN DORAL            FL 85345108234980000249133                                      -20.12

08/23/18    CHECKCARD 0822 SQ *SQ *J.A.W. DE PEMBROKE PINEFL 55432868234200765180068                                    -10.70

08/23/18    CHECKCARD 0822 BRAVO SUPERMARKET PEMBROKE PINEFL 05140478234100000580799                                  -169.14

08/24/18    CHECKCARD 0822 DRIVER LOAN DORAL            FL 85345108235980000249140                                      -20.12

08/24/18    CHECKCARD 0822 CHOW TIME GRILL & PEMBROKE PINEFL 55500808235010000526476                                    -28.00

08/24/18    7-ELEVEN        08/23 #000512067 PURCHASE 7-ELEVEN           FORT LAUDERDA FL                                 -7.76

08/24/18    7-ELEVEN        08/24 #000976638 PURCHASE 6348 COLLINS AVE MIAMI BEACH FL                                     -7.39

08/24/18    WESTAR 37TH        08/24 #000254022 PURCHASE WESTAR 37TH          MIAMI     FL                              -20.00

08/27/18    CHECKCARD 0824 KFC G135308 FLORIDA CITY FL 55310208237091208000150                                            -5.35

08/27/18    WESTON MART        08/25 #000301180 PURCHASE WESTON MART            FORT LAUDERDA FL                        -16.80

08/27/18    7-ELEVEN        08/25 #000422013 PURCHASE 7-ELEVEN           FORT LAUDERDA FL                                 -9.45

08/27/18    7-ELEVEN        08/25 #000981015 PURCHASE 1500 W STATE ROAD FORT LAUDERDA FL                                -15.11

08/27/18    CHEVRON/GASFOR 08/25 #000342911 PURCHASE CHEVRON/GASFORAL FORT LAUDERDA FL                                  -13.46

08/27/18    CHEVRON/GASFOR 08/25 #000341557 PURCHASE CHEVRON/GASFORAL FORT LAUDERDA FL                                    -3.97

08/27/18    CHECKCARD 0825 CINEMARK THEATRES DAVIE             FL 55432868238200478803580                               -31.80

08/27/18    CHECKCARD 0826 MCDONALD'S F19893 DAVIE             FL 05140488238710062279042                                 -1.27

08/27/18    7-ELEVEN        08/26 #000914581 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -26.99

08/27/18    RG AUTO REPAIR 08/27 #000008359 PURCHASE 2130 JOHNSON ST             HOLLYWOOD FL FL                        -47.70

08/27/18    7-ELEVEN        08/27 #000915562 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -20.17

08/27/18    7-ELEVEN        08/27 #000895652 PURCHASE 7-ELEVEN           HOLLYWOOD     FL                                 -3.48

08/28/18    CHECKCARD 0827 CAPITAL ONE AUTO 800-946-0332 TX 05123488239300229120154                                   -207.83

08/28/18    WAL-MART #1996 08/27 #000717600 PURCHASE 2551 E HALLANDALE HALLANDALE                  FL                   -47.51

08/28/18    WINN-DIXIE # 08/27 #000079727 PURCHASE 1515 E HALLANDALE HALLANDALE               FL                        -13.47

08/28/18    CHEVRON/SUNSHI 08/28 #000587661 PURCHASE CHEVRON/SUNSHINE WESTON                       FL                   -20.00
                                                                                                        continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! August 17, 2018 to September 13, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                       Amount

08/28/18    CHEVRON/GASFOR 08/28 #000575927 PURCHASE CHEVRON/GASFORAL FORT LAUDERDA FL                                          -9.11

08/29/18    CHECKCARD 0827 GOLD STAR LIQUORS HALLANDALE BEFL 85450938240706601815854                                          -19.06

08/29/18    PMNT SENT 0828 SQC*MARIA GONZALE 4153753176 CA 55429508240740287056485                                            -50.00

08/29/18    WESTAR          08/29 #000204826 PURCHASE WESTAR            MIAMI        FL                                       -27.13

08/30/18    CHECKCARD 0828 CHICK-FIL-A #0262 DAVIE         FL 05140488241710017290578                                         -14.35

08/30/18    CHECKCARD 0829 POC BUFFET & GRIL FORT LAUDERDAFL 75369438241906402805432                                          -42.00

08/30/18    7-ELEVEN        08/30 #000727602 PURCHASE 7-ELEVEN          HOLLYWOOD         FL                                    -9.56

08/30/18    SPEEDWAY 06893 08/30 #000505062 PURCHASE SPEEDWAY 06893              NORTH BAY VIL FL                             -15.08

08/30/18    AMERICA'S BEST 08/30 #000135689 PURCHASE AMERICA'S BEST             HOLLYWOOD           FL                        -99.00

08/30/18    AMERICA'S BEST 08/30 #000138888 PURCHASE AMERICA'S BEST             HOLLYWOOD           FL                        -89.95

08/30/18    7-ELEVEN        08/30 #000966684 PURCHASE 4112 S OCEAN DR       HOLLYWOOD          FL                             -15.04

08/31/18    CHECKCARD 0830 JOES WOOD GRILL I DANIA BEACH FL 55480778243286765200387                                           -22.23

08/31/18    CHECKCARD 0830 JOES WOOD GRILL I DANIA BEACH FL 55480778243286765200437                                             -7.94

08/31/18    7-ELEVEN        08/31 #000940621 PURCHASE 4112 S OCEAN DR       HOLLYWOOD          FL                             -20.10

08/31/18    NORDALI SHAPEW 08/31 #000515141 PURCHASE 2404 NW 20 ST              MIAMI      FL                                 -14.97

08/31/18    NELSON & MIRIA 08/31 #000425422 PURCHASE 2293 NW 20TH ST            MIAMI          FL                             -16.03

09/04/18    CHECKCARD 0831 MASSAGE LUXE 3058147996 FL 55500808243083147650848 RECURRING                                         -5.00

09/04/18    CHECKCARD 0831 MPA PARKING PAY B 3053736789 FL 55457028244286670304520                                              -1.50

09/04/18    CHECKCARD 0831 SQU*SQ *DONGLOTON Miami             FL 55432868244200525516856                                     -12.30

09/04/18    CHECKCARD 0831 SQU*SQ *DONGLOTON Miami             FL 55432868244200525553362                                       -9.10

09/04/18    SUNOCO 0176465 08/31 #000947180 PURCHASE 200 NW 36TH STREE MIAMI                        FL                          -8.97
09/04/18    CHECKCARD 0901 MCDONALD'S F11836 SUNRISE            FL 05140488245710057316453                                    -10.46

09/04/18    NNT H&M0519        09/01 #000220558 PURCHASE 615 12801 W SUNRI SUNRISE              FL                            -53.51

09/04/18    CALVIN KLEIN # 09/01 #000975145 PURCHASE CALVIN KLEIN #0         SUNRISE       FL                               -133.32

09/04/18    CHECKCARD 0901 ORION FUELS- PEMB HALLANDALE BEFL 55546508245006006325616                                          -15.34

09/04/18    WINN-DIXI 1515 09/01 #000026925 PURCHASE WINN-DIXI 1515 E HALLANDALE                FL                            -38.09

09/04/18    ALEX & FLOR LL 09/02 #000528150 PURCHASE 19040 S SAINT AND HIALEAH                 FL                             -16.04

09/04/18    WAL-MART #1996 09/02 #000797800 PURCHASE 2551 E HALLANDALE HALLANDALE                        FL                   -68.86

09/04/18    7-ELEVEN        09/03 #000977396 PURCHASE 4112 S OCEAN DR       HOLLYWOOD          FL                             -24.95

09/04/18    TOM THUMB 105 09/04 #000315819 PURCHASE TOM THUMB 105                MIAMI         FL                             -15.00

09/04/18    7-ELEVEN        09/04 #000942553 PURCHASE 1500 W STATE ROAD FORT LAUDERDA FL                                      -13.60

09/04/18    7-ELEVEN        09/04 #000511707 PURCHASE 7-ELEVEN          FORT LAUDERDA FL                                        -8.44

09/05/18    CHECKCARD 0905 9640 AMC ONLINE 8884404262 KS 55310208248602345660719                                              -21.35
                                                                                                              continued on the next page




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VICTOR H PADILLA ! Account #           0747 ! August 17, 2018 to September 13, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                      Amount

09/05/18    7-ELEVEN        09/05 #000944286 PURCHASE 4112 S OCEAN DR        HOLLYWOOD         FL                            -15.12

09/06/18    CHECKCARD 0904 SHORTYS BBQ MIAMI            FL 25536068249101027410079                                           -18.30

09/06/18    CHECKCARD 0904 OSP*Gator Run Ele STERLING         VA 25247808248000741352247                                       -7.00

09/06/18    CHECKCARD 0904 GATOR RUN PTA 19546092817 FL 55429508248637829191915                                                -9.00

09/06/18    CHEVRON/SUNSHI 09/06 #000158401 PURCHASE CHEVRON/SUNSHINE WESTON                            FL                   -28.01

09/06/18    BRAVO SUPERMAR 09/06 #000905665 PURCHASE BRAVO SUPERMARK                  PEMBROKE PINE FL                       -88.17

09/06/18    7-ELEVEN        09/06 #000901038 PURCHASE 4112 S OCEAN DR        HOLLYWOOD         FL                            -15.08

09/07/18    7-ELEVEN        09/07 #000985470 PURCHASE 4112 S OCEAN DR        HOLLYWOOD         FL                            -15.07

09/07/18    SHELL Service 09/07 #000195266 PURCHASE SHELL Service S         SUNRISE       FL                                   -6.55

09/10/18    CHECKCARD 0906 CHOW TIME GRILL & PEMBROKE PINEFL 55500808250010000509852                                         -36.00

09/10/18    CHECKCARD 0907 POLLO TROPICAL 10 SUNRISE            FL 55263528251400000633275                                     -7.62

09/10/18    SHELL Service 09/07 #000426760 PURCHASE SHELL Service S         SUNRISE       FL                                 -17.36

09/10/18    CHECKCARD 0908 PARKING (VERRUS) 9548285150 FL 55480778252207777203449                                              -1.08

09/10/18    7-ELEVEN        09/08 #000941737 PURCHASE 4112 S OCEAN DR        HOLLYWOOD         FL                            -14.04

09/10/18    CHECKCARD 0910 9640 AMC ONLINE 8884404262 KS 55310208253602634040427                                             -10.26

09/10/18    CHEVRON/SUNSHI 09/10 #000473750 PURCHASE CHEVRON/SUNSHINE MIAMI                         FL                       -15.03

09/10/18    MNV ENERGY BRA 09/10 #000881083 PURCHASE MNV ENERGY BRAVO NORTH LAUDERD FL                                       -15.10

09/11/18    CHECKCARD 0910 POLLO TROPICAL 10 CORAL SPRINGSFL 55263528254091000344737                                           -7.62

09/11/18    DENNY'S #1337 09/11 #000986449 PURCHASE 8503 SW 40TH ST. MIAMI                    FL                             -10.34

09/12/18    WAWA 5211          09/11 #000052238 PURCHASE 1520 BELVEDERE RD WEST PALM BEA FL                                  -21.38

09/12/18    CHEVRON/SUNSHI 09/12 #000594928 PURCHASE CHEVRON/SUNSHINE WESTON                            FL                   -19.76

09/12/18    SHELL Service 09/12 #000972732 PURCHASE SHELL Service S         MIAMI        FL                                    -7.50

09/13/18    CHECKCARD 0905 9640 AMC ONLINE 8884404262 KS 55310208248602345648797                                             -21.35

09/13/18    CHECKCARD 0912 WESTAR HALLANDALE HALLANDALE FL 55546508255006003987167                                           -15.17

09/13/18    CHECKCARD 0913 TMOBILE*POSTPAID 800-937-8997 WA 55432868256200947453279                                          -87.00

09/13/18    MOISES BAKERY 09/13 #000650341 PURCHASE 115 E HALLANDALE HALLANDALE BE FL                                        -15.16

09/13/18    SPEEDWAY 06862 09/13 #000521211 PURCHASE SPEEDWAY 06862               FORT LAUDERDA FL                           -19.95

09/13/18    DOLLAR GENERAL 09/13 #000014388 PURCHASE 120 S FEDERAL HWY DANIA                       FL                          -6.63

09/13/18    7-ELEVEN        09/13 #000117417 PURCHASE 7-ELEVEN           HOLLYWOOD        FL                                 -11.55

Total ATM and debit card subtractions                                                                               -$2,943.55
                                                                                                             continued on the next page




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VICTOR H PADILLA ! Account #            0747 ! August 17, 2018 to September 13, 2018




Withdrawals and other subtractions - continued

Other subtractions
Date        Description                                                                                                 Amount

08/20/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                   CO                 -207.83
            ID:9541719802 WEB

08/21/18    Zelle Transfer Conf# 788b937f6; Garcis, Herzori Jacqueline                                                  -50.00

08/21/18    THE SCHOOL BOARD DES:THE SB OF ID: INDN:Victor padilla             CO ID:1223755714 WEB                     -11.95

08/22/18    Zelle Transfer Conf# 01dd9ad52; Padilla Asociados                                                          -100.00

08/23/18    T-MOBILE         DES:HANDSET     ID:8224015 INDN:VICTOR PADILLA            CO ID:0000450304                -205.19
            WEB

08/24/18    Zelle Transfer Conf# f2686dcd0; Padilla Asociados                                                           -94.23

08/27/18    Zelle Transfer Conf# 4934b0d7f; Garcis, Herzori Jacqueline                                                 -100.00

08/27/18    COMCAST          DES:CABLE      ID:1226607 INDN:VICTOR *PADILLA            CO ID:0000213249 WEB             -95.62

08/28/18    Zelle Transfer Conf# e1305b0b3; Garcis, Herzori Jacqueline                                                 -200.00

08/30/18    Zelle Transfer Conf# e90e536d8; Garcis, Herzori Jacqueline                                                  -80.00

08/31/18    Zelle Transfer Conf# 5c93a7546; Garcis, Herzori Jacqueline                                                 -100.00

08/31/18    Customer Withdrawal Image                                                                                  -260.00

09/04/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                   CO                 -207.83
            ID:9541719802 WEB

09/05/18    Zelle Transfer Conf# 965210002; Padilla Asociados                                                          -200.00

09/10/18    Zelle Transfer Conf# 1f4bafe4d; Garcis, Herzori Jacqueline                                                  -25.00

09/11/18    Zelle Transfer Conf# fa4c01d6b; Garcis, Herzori Jacqueline                                                  -50.00

09/12/18    Zelle Transfer Conf# ed81ad851; Lopez, Dixon                                                                -20.00

09/13/18    Zelle Transfer Conf# 271b8046d; Padilla Asociados                                                          -100.00

Total other subtractions                                                                                          -$2,107.65




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P.O. Box 15284
Wilmington, DE 19850
                                                                                             Customer service information


                                                                                             Customer service: 1.800.432.1000
                                                                                             TDD/TTY users only: 1.800.288.4408
  VICTOR H PADILLA                                                                           En Español: 1.800.688.6086
  1945 S OCEAN DR APT 310
  HALLANDALE BEACH, FL 33009-6077                                                            bankofamerica.com
                                                                                             Bank of America, N.A.
                                                                                             P.O. Box 25118
                                                                                             Tampa, FL 33622-5118




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your BofA Core Checking
for September 14, 2018 to October 16, 2018                                             Account number:                    0747
VICTOR H PADILLA

Account summary
Beginning balance on September 14, 2018                                    $310.47
Deposits and other additions                                              5,616.79
ATM and debit card subtractions                                           -4,012.10
Other subtractions                                                        -1,828.48
Checks                                                                        -0.00
Service fees                                                                  -0.00

Ending balance on October 16, 2018                                         $86.68




PULL: B CYCLE: 9 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: JAX                                                         Page 1 of 12
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VICTOR H PADILLA ! Account #           0747 ! September 14, 2018 to October 16, 2018


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                       Your checking account
VICTOR H PADILLA ! Account #          0747 ! September 14, 2018 to October 16, 2018




Deposits and other additions
Date        Description                                                                                                 Amount

09/14/18    bKGSjTDz3SL6xa 09/13 #000234116 PMNT RCVD Lyft 09-14 Exp         San Francisco CA                            45.34

09/17/18    bKGSjTDz3SL6xa 09/16 #000583888 PMNT RCVD Lyft 09-16 Exp         San Francisco CA                            86.98

09/17/18    bKGSjTDz3SL6xa 09/14 #000651086 PMNT RCVD Lyft 09-15 Exp         San Francisco CA                            82.55

09/17/18    Zelle Transfer Conf# 2vkV4HiLe; HERZORI GARCIA                                                               80.00

09/18/18    bKGSjTDz3SL6xa 09/18 #000944930 PMNT RCVD Lyft 09-18 Exp         San Francisco CA                            25.74

09/18/18    bKGSjTDz3SL6xa 09/17 #000659184 PMNT RCVD Lyft 09-18 Exp         San Francisco CA                            18.71

09/19/18    RAISER,LLC    DES:EDI PAYMNT ID:2GDG6HUUK2OQJXL INDN:Victor Padilla           CO                            422.50
            ID:1800896455 CCD PMT INFO:REF*TN*2GDG6HUUK2\
09/19/18    bKGSjTDz3SL6xa 09/19 #000280288 PMNT RCVD Lyft 09-19 Exp         San Francisco CA                            61.04

09/19/18    CHECKCARD 0918 WALGREENS #4402 HALLANDALE BEFL 0543684826200025985                                           33.99

09/20/18    bKGSjTDz3SL6xa 09/19 #000488256 PMNT RCVD Lyft 09-20 Exp         San Francisco CA                            74.27

09/20/18    bKGSjTDz3SL6xa 09/20 #000501338 PMNT RCVD Lyft 09-20 Exp         San Francisco CA                            61.76

09/20/18    Zelle Transfer Conf# iyAFEaaql; HERZORI GARCIA                                                               14.00

09/21/18    bKGSjTDz3SL6xa 09/21 #000997488 PMNT RCVD Lyft 09-21 Exp         San Francisco CA                            19.62

09/24/18    Counter Credit                                                                                              200.00

09/24/18    bKGSjTDz3SL6xa 09/22 #000698540 PMNT RCVD Lyft 09-22 Exp         San Francisco CA                           160.43

09/24/18    BKOFAMERICA ATM 09/24 #000002042 DEPOSIT OCEAN DRIVE             HOLLYWOOD          FL                       50.00

09/24/18    bKGSjTDz3SL6xa 09/23 #000939940 PMNT RCVD Lyft 09-24 Exp         San Francisco CA                            12.39

09/25/18    DRIVER LOAN LLC DES:ADVANCE       ID:448 INDN:VICTOR PADILLA         CO ID:1821619848 CCD                   345.40

09/25/18    bKGSjTDz3SL6xa 09/25 #000581346 PMNT RCVD Lyft 09-25 Exp         San Francisco CA                            17.50
09/26/18    RAISER,LLC    DES:EDI PAYMNT ID:BDLKS4BQLT311Q7 INDN:Victor Padilla           CO                            914.53
            ID:1800896455 CCD PMT INFO:REF*TN*BDLKS4BQLT\

09/26/18    bKGSjTDz3SL6xa 09/25 #000817574 PMNT RCVD Lyft 09-26 Exp         San Francisco CA                            25.63

09/28/18    bKGSjTDz3SL6xa 09/28 #000918068 PMNT RCVD Lyft 09-28 Exp         San Francisco CA                            43.71

09/28/18    bKGSjTDz3SL6xa 09/28 #000996138 PMNT RCVD Lyft 09-29 Exp         San Francisco CA                            31.33
                                                                                                        continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! September 14, 2018 to October 16, 2018




Deposits and other additions - continued
Date        Description                                                                                                 Amount

10/01/18    bKGSjTDz3SL6xa 09/30 #000522468 PMNT RCVD Lyft 09-30 Exp         San Francisco CA                            53.11

10/01/18    bKGSjTDz3SL6xa 09/30 #000661328 PMNT RCVD Lyft 09-30 Exp         San Francisco CA                            34.86

10/02/18    bKGSjTDz3SL6xa 10/01 #000417882 PMNT RCVD Lyft 10-02 Exp         San Francisco CA                            21.94

10/02/18    Online Banking transfer from CHK 0384 Confirmation# 6249791919                                               20.00

10/03/18    RAISER,LLC    DES:EDI PAYMNT ID:XGSS97KKN0PNZ9M INDN:Victor Padilla              CO                         741.67
            ID:1800896455 CCD PMT INFO:REF*TN*XGSS97KKN0\

10/03/18    bKGSjTDz3SL6xa 10/03 #000290022 PMNT RCVD Lyft 10-04 Exp         San Francisco CA                            48.32

10/03/18    bKGSjTDz3SL6xa 10/02 #000867470 PMNT RCVD Lyft 10-03 Exp         San Francisco CA                            28.37

10/05/18    bKGSjTDz3SL6xa 10/04 #000707646 PMNT RCVD Lyft 10-05 Exp         San Francisco CA                            13.84

10/09/18    BKOFAMERICA ATM 10/09 #000002408 DEPOSIT WESTON TOWN CENT WESTON                      FL                    340.00

10/09/18    bKGSjTDz3SL6xa 10/05 #000240975 PMNT RCVD Lyft 10-06 Exp         San Francisco CA                            98.57
10/09/18    bKGSjTDz3SL6xa 10/07 #000414509 PMNT RCVD Lyft 10-07 Exp         San Francisco CA                            39.62

10/09/18    bKGSjTDz3SL6xa 10/08 #000492448 PMNT RCVD Lyft 10-09 Exp         San Francisco CA                            30.12

10/09/18    bKGSjTDz3SL6xa 10/08 #000217866 PMNT RCVD Lyft 10-08 Exp         San Francisco CA                            19.11

10/10/18    RAISER,LLC    DES:EDI PAYMNT ID:KFDB4B3LRMOOW37 INDN:Victor Padilla              CO                         764.52
            ID:1800896455 CCD PMT INFO:REF*TN*KFDB4B3LRM\

10/12/18    bKGSjTDz3SL6xa 10/11 #000797376 PMNT RCVD Lyft 10-12 Exp         San Francisco CA                            82.11

10/12/18    Zelle Transfer Conf# Iih61qluP; HERZORI GARCIA                                                               80.00

10/15/18    bKGSjTDz3SL6xa 10/13 #000328906 PMNT RCVD Lyft 10-13 Exp         San Francisco CA                           135.22

10/15/18    Zelle Transfer Conf# t6hHniMCo; HERZORI GARCIA                                                               70.00

10/15/18    bKGSjTDz3SL6xa 10/14 #000082346 PMNT RCVD Lyft 10-15 Exp         San Francisco CA                            69.84

10/15/18    Zelle Transfer Conf# L6g1lY6Dq; HERZORI GARCIA                                                               50.00

10/16/18    bKGSjTDz3SL6xa 10/15 #000702080 PMNT RCVD Lyft 10-16 Exp         San Francisco CA                            48.15

Total deposits and other additions                                                                              $5,616.79



Withdrawals and other subtractions

ATM and debit card subtractions
Date        Description                                                                                                 Amount

09/14/18    CHECKCARD 0913 MED PLAN LLC 305-262-1610 FL 85454918256900011901581                                         -79.99

09/14/18    WALGREENS 1300 09/14 #000617257 PURCHASE WALGREENS 1300 E HALLANDALE BE FL                                  -33.99

09/14/18    7-ELEVEN        09/14 #000989902 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -16.77

09/14/18    7-ELEVEN        09/14 #000400404 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                              -11.88

09/17/18    7-ELEVEN        09/14 #000947910 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -14.02

09/17/18    7-ELEVEN        09/15 #000930807 PURCHASE 4112 S OCEAN DR        HOLLYWOOD       FL                         -15.20

09/17/18    7-ELEVEN        09/15 #000051902 PURCHASE 7-ELEVEN          HOLLYWOOD       FL                              -17.88
                                                                                                        continued on the next page




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                                                                                           Your checking account
VICTOR H PADILLA ! Account #          0747 ! September 14, 2018 to October 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                     Amount

09/17/18    CHECKCARD 0915 POLLO TROPICAL 10 AVENTURA           FL 55263528259400000175931                                  -17.10

09/17/18    CHECKCARD 0916 9640 AMC ONLINE 8884404262 KS 55310208259602973590184                                            -22.13

09/17/18    CHECKCARD 0915 AMC AVENTURA 24 # AVENTURA           FL 55541868259004008210551                                    -8.34

09/17/18    CHECKCARD 0915 ALFERCA MIAMI L L MIAMI SPRINGSFL 55436878259262596103060                                        -57.00

09/17/18    7-ELEVEN        09/16 #000929333 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                             -30.10

09/17/18    7-ELEVEN        09/16 #000834491 PURCHASE 7-ELEVEN          FORT LAUDERDA FL                                      -7.76

09/17/18    JIREH MEDICAL 09/17 #000548721 PURCHASE JIREH MEDICAL CEN HOLLYWOOD                   FL                        -40.00

09/18/18    CHECKCARD 0916 RESTAURANTE BRASI POMPANO BEACHFL 75454918260900013600574                                        -65.00

09/18/18    7-ELEVEN        09/18 #000950820 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                             -15.01

09/19/18    SHELL Service 09/19 #000351853 PURCHASE SHELL Service S        HOLLYWOOD         FL                             -16.73

09/19/18    PUBLIX SUPER M 09/19 #000628974 PURCHASE 1400 E HALLANDALE HALLANDALE                      FL                     -7.50

09/19/18    PUBLIX SUPER M 09/19 #000057835 PURCHASE 1400 E HALLANDALE HALLANDALE                      FL                   -35.67

09/19/18    GIANT 134       09/19 #000661701 PURCHASE GIANT 134         DANIA         FL                                    -14.28

09/20/18    CHECKCARD 0918 DRIVER LOAN DORAL           FL 85345108262980000249195                                           -20.55

09/20/18    ROCKET FUEL ST 09/20 #000697773 PURCHASE ROCKET FUEL STI            HOLLYWOOD          FL                       -25.10

09/21/18    CHECKCARD 0919 DENNY'S INC 18007 HOLLYWOOD           FL 05140488263710004655752                                 -23.34

09/21/18    7-ELEVEN        09/21 #000958461 PURCHASE 1500 W STATE ROAD FORT LAUDERDA FL                                    -15.96

09/24/18    CHECKCARD 0921 DRIVER LOAN DORAL           FL 85345108266980000249159                                             -3.99

09/24/18    BISCAYNE 7-11 09/21 #000065228 PURCHASE 3401 BISCAYNE BLV MIAMI                 FL                              -15.19

09/24/18    CHECKCARD 0922 Spotify USA New York       NY 15270218265000605103935                                              -9.99

09/24/18    7-ELEVEN        09/22 #000917185 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                             -15.11

09/24/18    PAPA JOHN 1685 09/22 #000909319 PURCHASE PAPA JOHN 16850 C SUNNY ISL BCH FL                                     -20.33

09/24/18    NAVARRO DISCOU 09/22 #000073572 PURCHASE 10708--18500 COLL SUNNY ISLES FL                                       -13.90

09/24/18    CHECKCARD 0923 SHELL OIL 5754386 MIAMI BEACH FL 55308768266547022035558                                         -12.21

09/24/18    WESTON MART        09/23 #000014847 PURCHASE WESTON MART            FORT LAUDERDA FL                            -19.61

09/24/18    7-ELEVEN        09/24 #000905977 PURCHASE 4112 S OCEAN DR       HOLLYWOOD        FL                             -11.22

09/25/18    CHECKCARD 0924 9640 AMC ONLINE 8884404262 KS 55310208267602417020798                                            -11.97

09/25/18    CHECKCARD 0925 GEICO AUTO WASHINGTON DC                                                                         -72.91

09/25/18    CHECKCARD 0925 GEICO AUTO WASHINGTON DC                                                                       -157.80

09/25/18    CHEVRON/GASFOR 09/25 #000376101 PURCHASE CHEVRON/GASFORAL FORT LAUDERDA FL                                        -6.88

09/25/18    PUBLIX SUPER M 09/25 #000080703 PURCHASE 2465 GLADES CIRCL WESTON                     FL                          -8.95
                                                                                                            continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! September 14, 2018 to October 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                               Amount

09/26/18    CHECKCARD 0925 MASSAGE LUXE 3058147996 FL 55500808268083073669416 RECURRING                                 -5.00

09/26/18    CHECKCARD 0926 7-ELEVEN HOLLYWOOD          FL                                                             -19.74

09/26/18    7-ELEVEN        09/26 #000938398 PURCHASE 7-ELEVEN          HOLLYWOOD     FL                                -7.99

09/26/18    TARGET T- 2126 09/26 #000319577 PURCHASE TARGET T- 21265 B Aventura            FL                         -33.99

09/26/18    WHOLEFDS 2110 09/26 #000023083 PURCHASE WHOLEFDS 21105 B AVENTURA                   FL                      -9.98

09/27/18    CHECKCARD 0927 COMCAST BROWARD C 800-266-2278 FL 55432868270200696193912                                  -95.62

09/27/18    CHECKCARD 0926 CAPITAL ONE BNK D 800-955-7070 VA 05123488269300229611031                                  -35.00

09/27/18    CHECKCARD 0926 LYFT *RIDE WED 8552800278 CA 55429508269637765908375                                         -9.10

09/27/18    CHECKCARD 0926 CVI CHE 105 AVENT MIAMI          FL 05314618270100112242839                                -80.00

09/27/18    CHECKCARD 0927 7-ELEVEN HOLLYWOOD          FL                                                             -15.03

09/27/18    CHECKCARD 0927 7-ELEVEN HOLLYWOOD          FL                                                             -16.90

09/28/18    CHECKCARD 0926 DRIVER LOAN DORAL           FL 85345108270980000249195                                     -22.40

09/28/18    CHECKCARD 0927 LYFT *RIDE THU 8552800278 CA 55429508271637818121980                                       -16.78

09/28/18    CHECKCARD 0928 7-ELEVEN HOLLYWOOD          FL                                                             -20.19

09/28/18    7-ELEVEN        09/28 #000301180 PURCHASE 7-ELEVEN          HOLLYWOOD     FL                                -7.99

09/28/18    RG AUTO REPAIR 09/28 #000008550 PURCHASE 2130 JOHNSON ST            HOLLYWOOD FL FL                       -53.00

09/28/18    MOISES BAKERY 09/29 #000669001 PURCHASE 115 E HALLANDALE HALLANDALE BE FL                                 -16.96

09/28/18    CHECKCARD 0928 WM SUPERCENTER HALLANDALE FL                                                               -47.47

10/01/18    CHECKCARD 0927 DRIVER LOAN DORAL           FL 85345108271980000249152                                     -22.40

10/01/18    CHECKCARD 0928 DRIVER LOAN DORAL           FL 85345108273980000249192                                     -22.40

10/01/18    CHECKCARD 0929 SHELL Service HOLLYWOOD          FL                                                        -15.02
10/01/18    PMNT SENT 0929 SQC*MARIA GONZALE 4153753176 CA 55429508272740321134562                                    -50.00

10/01/18    CHECKCARD 0929 DON PAN SAWGRASS SUNRISE              FL 25247808272005005092289                           -23.50

10/01/18    CHECKCARD 0930 9640 AMC ONLINE 8884404262 KS 55310208273602765546248                                      -11.44

10/01/18    CHECKCARD 0929 CHEVRON/SUNSHI WESTON             FL                                                       -27.68

10/01/18    ALDI 77012      09/29 #000754742 PURCHASE ALDI 77012         PLANTATION   FL                            -130.38

10/01/18    CHECKCARD 0929 PEPBOYS STORE 37 PLANTATION FL 55432868273200357556156                                     -15.89

10/01/18    CHECKCARD 0929 CHICK-FIL-A #0187 SUNRISE         FL 05140488273710016140627                                 -7.09

10/01/18    CHECKCARD 0929 WM SUPERCENTER SUNRISE (W) FL                                                              -21.15

10/01/18    WALGREENS STOR 09/29 #000223250 PURCHASE 1300 E HALLANDALE HALLANDALE BE FL                               -13.30

10/01/18    CHECKCARD 1001 7-ELEVEN HOLLYWOOD          FL                                                             -15.08

10/01/18    7-ELEVEN        10/01 #000984423 PURCHASE 7-ELEVEN          HOLLYWOOD     FL                                -7.99

10/01/18    CHECKCARD 1001 CHEVRON/SUNSHI WESTON             FL                                                       -15.11
                                                                                                      continued on the next page




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VICTOR H PADILLA ! Account #          0747 ! September 14, 2018 to October 16, 2018




Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                Amount

10/02/18    CHECKCARD 0929 DRIVER LOAN DORAL           FL 85345108274980000249175                                      -22.40

10/02/18    CHECKCARD 0930 DRIVER LOAN DORAL           FL 85345108274980000249167                                      -22.40

10/02/18    CHECKCARD 0930 MARATHON PETRO149 FORT LAUDERDAFL 25415758274000100027174                                   -10.01

10/02/18    CHECKCARD 1002 ORION FUELS- P HALLANDALE FL                                                                -16.77

10/02/18    7-ELEVEN        10/02 #000782555 PURCHASE 7-ELEVEN          HOLLYWOOD      FL                                -9.35

10/03/18    CHECKCARD 1001 DRIVER LOAN DORAL           FL 85345108275980000249141                                      -22.40

10/03/18    CHECKCARD 1003 7-ELEVEN HOLLYWOOD          FL                                                              -30.01

10/04/18    CHECKCARD 1002 DRIVER LOAN DORAL           FL 85345108276980000249116                                      -22.40

10/04/18    CHECKCARD 1003 POLLO TROPICAL 10 HALLANDALE BEFL 55263528277400000202725                                     -6.35

10/04/18    CHECKCARD 1004 VIVA BRAZIL HOLLYWOOD         FL 55310208277400167000096                                    -52.00

10/04/18    CHECKCARD 1003 SQ          *SQ * Hallandale BeFL 55432868276200113077676                                   -21.20

10/04/18    CHECKCARD 1004 7-ELEVEN HOLLYWOOD          FL                                                              -20.09

10/04/18    7-ELEVEN        10/04 #000358780 PURCHASE 7-ELEVEN          HOLLYWOOD      FL                                -7.99

10/05/18    CHECKCARD 1003 DRIVER LOAN DORAL           FL 85345108277980000249149                                      -22.40

10/05/18    CHECKCARD 1005 9640 AMC ONLINE 8884404262 KS 55310208278602037985948                                       -21.35

10/05/18    CHECKCARD 1004 JIREH MEDICAL CEN HOLLYWOOD           FL 55480778278091732000086                            -20.00

10/05/18    CHECKCARD 1005 7-ELEVEN HOLLYWOOD          FL                                                              -15.17

10/05/18    BRYAN VALERO       10/05 #000830596 PURCHASE 570 NW 79TH ST       MIAMI     FL                               -8.34

10/05/18    CHECKCARD 1005 7-ELEVEN HOLLYWOOD          FL                                                              -22.43

10/09/18    CHECKCARD 1004 DRIVER LOAN DORAL           FL 85345108278980000249163                                      -22.40

10/09/18    CHECKCARD 1004 CHOWTIME TAMARAC           FL 55500808278010000126051                                       -45.12

10/09/18    CHECKCARD 1005 DRIVER LOAN DORAL           FL 85345108280980000249110                                      -22.40

10/09/18    CHECKCARD 1005 ULTIMATE CAR WASH DANIA BEACH FL 85500598278013796110754                                      -7.00

10/09/18    CHECKCARD 1006 DRIVER LOAN DORAL           FL 85345108281980000249192                                      -22.40

10/09/18    CHECKCARD 1006 ORION FUELS- P HALLANDALE FL                                                                -25.11

10/09/18    CHECKCARD 1006 LA GRANJA WESTON WESTON             FL 75429708280900010301252                              -69.46

10/09/18    TARGET T- 1280 10/06 #000226928 PURCHASE TARGET T- 12801 W Sunrise          FL                             -11.65

10/09/18    CHECKCARD 1006 LYFT *RIDE SAT 8552800278 CA 55429508280637285320031                                          -9.36

10/09/18    CHECKCARD 1007 DRIVER LOAN DORAL           FL 85345108281980000249135                                      -22.40

10/09/18    CHECKCARD 1007 7-ELEVEN HOLLYWOOD          FL                                                              -20.11

10/09/18    CHECKCARD 1008 7-ELEVEN HOLLYWOOD          FL                                                              -16.92
                                                                                                       continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                Amount

10/09/18    CHECKCARD 1008 DANIEL SCHULEFAND 9548459133 FL 55446418281200641700113                                   -135.00

10/09/18    CHECKCARD 1009 ALLYS COMFORT CAF DAVID              FL 25536068283101003486124                             -37.97

10/09/18    CHECKCARD 1009 MCDONALD'S F34 DAVIE           FL                                                           -13.03

10/09/18    CHECKCARD 1009 7-ELEVEN HOLLYWOOD        FL                                                                -30.11

10/10/18    CHECKCARD 1008 DRIVER LOAN DORAL         FL 85345108282980000249142                                        -22.40

10/10/18    CHECKCARD 1009 MARATHON PETRO171 DAVIE              FL 25415758283001627163939                               -6.17

10/10/18    PUBLIX SUPER M 10/10 #000615493 PURCHASE 1400 E HALLANDALE HALLANDALE                 FL                   -21.45

10/10/18    FIVE BELOW 925 10/10 #000047148 PURCHASE 1403 EAST HALLAND HALLANDALE                 FL                   -19.08

10/10/18    CHECKCARD 1010 7-ELEVEN HOLLYWOOD        FL                                                                -20.00

10/11/18    CHECKCARD 1009 U-HAULBOOST MOBIL DAVIE              FL 05436848283200023739732                             -62.55

10/11/18    CHECKCARD 1009 DRIVER LOAN DORAL         FL 85345108283980000249166                                        -23.40

10/11/18    CHECKCARD 1009 U-HAULBOOST MOBIL DAVIE              FL 05436848283200023739658                             -14.80

10/11/18    CHECKCARD 1010 ULTIMATE CAR WASH DANIA BEACH FL 85500598283013821128329                                      -7.00

10/11/18    PUBLIX SUPER M 10/11 #000528437 PURCHASE 2465 GLADES CIRCL WESTON                FL                      -201.78

10/11/18    CHECKCARD 1011 7-ELEVEN 34819 WESTON           FL                                                          -20.06

10/11/18    CHECKCARD 1011 WAL-MART #1996 HALLANDALE FL                                                                -14.03

10/11/18    CHECKCARD 1011 7-ELEVEN HOLLYWOOD        FL                                                                -20.20

10/12/18    CHECKCARD 1005 9640 AMC ONLINE 8884404262 KS 55310208278602038052847                                       -21.35

10/12/18    CHECKCARD 1010 DRIVER LOAN DORAL         FL 85345108284980000249140                                        -22.40

10/12/18    CHECKCARD 1010 POLLO TROPICAL 10 PLANTATION FL 55263528284400000492822                                     -25.41

10/12/18    CHECKCARD 1012 7-ELEVEN HOLLYWOOD        FL                                                                -30.20
10/15/18    CHECKCARD 1011 DRIVER LOAN DORAL         FL 85345108285980000249198                                        -22.40

10/15/18    CHECKCARD 1012 DRIVER LOAN DORAL         FL 85345108287980000249113                                        -22.40

10/15/18    CHECKCARD 1012 LYFT *RIDE FRI 8552800278 CA 55429508285637529996252                                        -10.37

10/15/18    CHECKCARD 1012 CHOW TIME GRILL & PEMBROKE PINEFL 55500808287010000330173                                   -51.00

10/15/18    CHECKCARD 1013 MED PLAN LLC 305-262-1610 FL 85454918287900014901227 RECURRING                              -49.99

10/15/18    CHECKCARD 1013 7-ELEVEN HOLLYWOOD        FL                                                                -20.15

10/15/18    CHECKCARD 1013 ULTIMATE CAR WASH DANIA BEACH FL 85500598287013838392823                                    -29.99

10/15/18    CHECKCARD 1014 9640 AMC ONLINE 8884404262 KS 55310208287602574928383                                       -40.41

10/15/18    EL PASTOR TACO 10/13 #000507441 PURCHASE 19501 BISCAYNE BL AVENTURA              FL                        -12.29

10/15/18    CHECKCARD 1013 SPEEDWAY 06453 OAKLAND PARK FL                                                              -20.14

10/15/18    CHECKCARD 1014 MB-PARKING PARKMO 3056737000 FL 55457028288091892000139                                       -1.35

10/15/18    CHECKCARD 1014 SQ *SQ *7TY ONE R Miami Beach FL 55432868287200317598813                                    -22.72
                                                                                                       continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date        Description                                                                                                      Amount

10/15/18    CHECKCARD 1014 7-ELEVEN HOLLYWOOD               FL                                                               -20.04

10/15/18    CHECKCARD 1015 BROWARD MARATH FORT LAUDERDAFL                                                                      -9.19

10/15/18    CHECKCARD 1015 7-ELEVEN FORT LAUDERDAFL                                                                          -25.04

10/15/18    PUBLIX SUPER M 10/15 #000078826 PURCHASE 3102 GRIFFIN RD             FT LAUDERDALE FL                            -12.04

10/16/18    CHECKCARD 1013 DRIVER LOAN DORAL                FL 85345108288980000249195                                       -22.40

10/16/18    CHECKCARD 1014 DRIVER LOAN DORAL                FL 85345108288980000249179                                       -22.40

10/16/18    CHECKCARD 1015 LYFT *RIDE MON 8552800278 CA 55429508288637679347220                                              -10.71

10/16/18    CHECKCARD 1016 ALLYS COMFORT CAF DAVID                FL 25536068290101003579218                                 -22.00

10/16/18    CHECKCARD 1016 MCDONALD'S F14 FT LAUDERDALEFL                                                                    -26.36

10/16/18    CNS IKEA SUNRI 10/16 #000125559 PURCHASE 151 NW 136TH AVEN SUNRISE                   FL                        -200.00

Total ATM and debit card subtractions                                                                               -$4,012.10


Other subtractions
Date        Description                                                                                                      Amount

09/17/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                     CO                   -103.92
            ID:9541719802 WEB

09/18/18    Zelle Transfer Conf# 71d4df03d; Garcis, Herzori Jacqueline                                                       -50.00

09/19/18    Zelle Transfer Conf# 2935def3e; Portales, Lilysabel                                                            -125.00

09/20/18    Zelle Transfer Conf# ce2d9e847; sanoja, karen                                                                  -134.00

09/21/18    Zelle Transfer Conf# 30a5ffb2a; Padilla Asociados                                                              -100.00

09/21/18    T-MOBILE         DES:HANDSET     ID:4960413 INDN:VICTOR PADILLA             CO ID:0000450304                   -182.00
            WEB

09/24/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                     CO                   -103.92
            ID:9541719802 WEB

09/25/18    Zelle Transfer Conf# f2ff96402; Padilla Asociados                                                              -165.00

09/26/18    Zelle Transfer Conf# 59311fe94; Padilla Asociados                                                              -135.00

10/01/18    Online Banking transfer to CHK 0384 Confirmation# 6425174684                                                     -20.00

10/01/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                     CO                   -103.92
            ID:9541719802 WEB

10/03/18    Zelle Transfer Conf# a711d437c; Portales, Lilysabel                                                            -100.00

10/09/18    Zelle Transfer Conf# 70d1e618c; Portales, Lilysabel                                                            -100.00

10/09/18    Zelle Transfer Conf# 4fa229f12; Garcis, Herzori Jacqueline                                                       -40.00
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Withdrawals and other subtractions - continued

Other subtractions - continued
Date        Description                                                                                              Amount

10/09/18    CAPITAL ONE AUTO DES:DIRECTPAY ID:006206357027240 INDN:VICTOR PADILLA                  CO                -103.92
            ID:9541719802 WEB

10/12/18    Zelle Transfer Conf# f9db00048; Garcis, Herzori Jacqueline                                               -150.00

10/12/18    T-MOBILE         DES:FDC PAYMEN ID:5613017 INDN:VICTOR PADILLA              CO ID:0000450304              -51.80
            TEL

10/15/18    Zelle Transfer Conf# 4ee7f8e21; Garcis, Herzori Jacqueline                                                -30.00

10/15/18    Zelle Transfer Conf# 32298f41e; Garcis, Herzori Jacqueline                                                -30.00

Total other subtractions                                                                                        -$1,828.48




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Important Messages - Please Read
We want to make sure you stay up-to-date on changes, reminders, and other important details that
could impact you.

We are changing the name of Bank of America Core Checking® to Bank of America Advantage Plus Banking(TM) on
November 3, 2018.
There are no changes to your account number, debit cards, checks or monthly maintenance fee.




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